     Case 3:18-cv-00307-E Document 73 Filed 01/30/20           Page 1 of 3 PageID 3508



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

DOUGLAS PATTERSON, Individually, and
ON BEHALF OF ALL OTHERS SIMILARLY
SITUATED UNDER 29 USC 216(b)

       Plaintiffs,

v.                                                    Case No.: 3:18-cv-00307-E

DALLAS/FORT WORTH INTERNATIONAL
AIRPORT BOARD,

       Defendant.

      DEFENDANT’S MOTION TO STRIKE PLAINTIFFS’ SUMMARY JUDGMENT
                       EXHIBITS AND ARGUMENTS

        Defendant Dallas/Fort Worth International Airport Board (“Defendant”) files this Motion

 to Strike Plaintiffs’ Summary Judgment Exhibits and Arguments in light of defects regarding

 multiple exhibits and arguments provided by Plaintiffs. Defendant concurrently files a brief

 supporting this motion.
  Case 3:18-cv-00307-E Document 73 Filed 01/30/20            Page 2 of 3 PageID 3509



                                          Respectfully submitted,

                                          s/ Greg McAllister
                                          Greg McAllister
                                          Texas State Bar No. 24071191
                                          gmcallister@littler.com

                                          LITTLER MENDELSON, P.C.
                                          2001 Ross Avenue
                                          Suite 1500, Lock Box 116
                                          Dallas, TX 75201.2931
                                           214.880.8100
                                           214.880.0181 (Fax)

                                          Kimberly R. Miers
                                          Texas State Bar No. 24041482
                                          kmiers@littler.com

                                          LITTLER MENDELSON, P.C.
                                          100 Congress Avenue, Suite 2000
                                          Austin, TX 78701
                                          512.982.7250
                                          512.982.7248 (Fax)

                                         ATTORNEYS FOR DEFENDANT




Defendant’s Motion to Strike Plaintiffs’ Summary Judgment Exhibits and Arguments       2
   Case 3:18-cv-00307-E Document 73 Filed 01/30/20           Page 3 of 3 PageID 3510



                               CERTIFICATE OF CONFERENCE

      I certify that on January 30, 2020, I conferred with Plaintiffs’ counsel regarding
Defendant’s foregoing Motion. Plaintiffs are opposed to the relief sought herein.

                                                 s/ Greg McAllister
                                                 Greg McAllister




                                 CERTIFICATE OF SERVICE

       On January 30, 2020, the foregoing document was filed via ECF, which will provide a
copy to Plaintiffs’ counsel.

                                                 s/ Greg McAllister
                                                 Greg McAllister

4831-8669-9186.3 086340.1003




Defendant’s Motion to Strike Plaintiffs’ Summary Judgment Exhibits and Arguments             3
